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                     EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY
                                     NEWARK VICINAGE

    OCCIDENTAL CHEMICAL CORPORATION,
                                                              Hon. Judge Madeleine Cox Arleo
                                Plaintiff,                 Hon. Magistrate Judge Joseph A. Dickson.

       v.                                                Civil Action No. 2:18-CV-11273 (MCA-JAD)

    21ST CENTURY FOX AMERICA, INC., et al., DEFENDANT PITT-CONSOL CHEMICAL
                                               COMPANY’S CORRECTED FIRST
                      Defendants.             SUPPLEMENTAL RESPONSES AND
                                                OBJECTIONS TO PLAINTIFF’S
                                                     STANDARD SET OF
                                                    INTERROGATORIES


            Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Local Rule 33.1,

    Defendant Pitt-Consol Chemical Company (“Pitt-Consol”) hereby objects and responds to

    Plaintiff Occidental Chemical Corporation’s (“OCC”) Standard Set of Interrogatories as follows:

                          GENERAL STATEMENTS AND OBJECTIONS

            1.     Pitt-Consol objects to OCC’s Definitions, Instructions and Interrogatories to the

    extent that they seek information protected by the attorney-client privilege or any other

    applicable privilege. Any inadvertent disclosure of privileged information shall not constitute a

    waiver of the attorney-client or any other applicable privilege.

            2.     Pitt-Consol objects to OCC’s Definitions, Instructions and Interrogatories to the

    extent that they seek the discovery of the mental impressions, conclusions, strategies, opinions,

    research or legal theories of their attorneys or other representatives. Any inadvertent disclosure

    of work product shall not constitute a waiver of any work product protection.

            3.     Pitt-Consol objects to OCC’s Definitions, Instructions and Interrogatories to the

    extent that they seek to alter or exceed the scope of the obligations placed on Pitt-Consol by the




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           21.     Identify or describe Your document retention and destruction polic(ies) relating to

    the retention or destruction of business records relating to each Property at Issue or Operations

    identified in response to Interrogatory Nos. 1 or 2.

           ORIGINAL ANSWER (JULY 8, 2019)

           Pitt-Consol responds that, pursuant to Fed. Rule Civ. Pro. 33(d), the answer may be

    found in DuPont’s Corporate Records and Information Management Policies that are being

    produced concurrently as part of Pitt-Consol’s rolling production of documents. They may be

    found at PCCC-FED-0000007004 to PCCC-FED-0000007630.



           22.     Identify all Response Action costs for which You seek recovery in this litigation

    and for each, describe the purpose for which those costs were spent and what documentation You

    have establishing that You incurred and paid those costs.

           ORIGINAL ANSWER (JULY 8, 2019)

           Pitt-Consol objects to this Interrogatory as premature because no counterclaims or third-

    party claims have been asserted in this litigation and because the pending motions to dismiss will

    impact the type and scope of costs at issue. Pitt-Consol reserves the right to supplement this

    response as necessary.

           CORRECTED SUPPLEMENTAL ANSWER - 12/4/2019

           Pitt-Consol supplements its prior response as follows. Without waving the foregoing

    objections, Pitt-Consol states that it is a signatory to a Mutual Contribution Release Agreement

    (“MCRA”) with Occidental Chemical Corporation (“OCC”) and others relating to In re: Maxus

    Energy Corporation, et al., Case No 16-11501 (CSS) (Bankr. D. Del.). Under the MCRA, Pitt-

    Consol agreed to release OCC for claims of certain itemized amounts in exchange for a




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    corresponding release from OCC for certain itemized amounts claimed by OCC. Pitt-Consol

    maintains that the MCRA is enforceable. However, if the MCRA is deemed unenforceable, Pitt-

    Consol reserves its right to seek contribution from OCC for such otherwise released costs and

    itemized amounts, and to supplement this response accordingly.

           Pitt-Consol has incurred reasonable and necessary response costs consistent with the

    national Oil and Hazardous Substances Pollution Contingency Plan (“NCP”, 40 C.F.R. Part 300

    et seq.) at the Diamond Alkali Superfund Site. Pitt-Consol continues to incur costs under the

    categories described below; accordingly, this response will be supplemented further consistent

    with Fed. R. Civ. P. 26. Pitt-Consol also expects to offer expert testimony that will identify

    ongoing and recurring costs, and to prove its costs were reasonable, necessary, and consistent

    with the NCP.

           Pitt-Consol has been a member of the Cooperating Parties Group (“CPG”), a group of

    companies organized to respond collectively to claims asserted against them by the United

    States, State of New Jersey and others in connection with the Diamond Alkali Superfund Site.

    The costs identified herein were incurred and paid collectively by the CPG. Documentation with

    respect to such costs includes work orders, invoices and other supporting documents of the

    CPG’s technical consultants, vendors and other suppliers, and internal accounting records

    maintained by the CPG. Recoverable legal fees are not included in this response, but may be

    provided in a supplemental response.

           (a)      2007 RI/FS ASAOC. In 2007, the CPG, including Pitt-Consol, entered into an

    Administrative Settlement Agreement and Order on Consent (“ASAOC”) with EPA for a

    Remedial Investigation/Feasibility Study (“RI/FS”), in which the settling parties agreed to take

    over the performance of the 17-mile LPRSA RI/FS from EPA (see section (c), below). The




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    CPG’s costs include costs of all activities required and approved by EPA, reimbursement of

    EPA’s oversight costs, and costs for other activities in support of the RI/FS. These costs are

    identified at Exhibit B.

           (b)     2012 RM 10.9 ASAOC. In June 2012, the CPG, including Pitt-Consol, signed an

    ASAOC for a time-critical removal action at river mile (“RM”) 10.9 in Lyndhurst, New Jersey.

    The CPG’s costs under this ASAOC are identified in Exhibit C.

           (c)     Other RI/FS Costs. In 2004, the CPG, including Pitt-Consol signed an ASAOC

    with U.S. EPA to fund EPA’s work to on the RI/FS for the 17-mile LPR. CPG members

    (excluding Plaintiffs and its indemnitors) paid $12.64 million to EPA. In addition to the 122(h)

    Settlement, the CPG incurred other recoverable response costs in furtherance of EPA’s RI/FS

    during the period 2004 - 2007, identified in Exhibit D.

           (d)     PRP Search Costs. The CPG, including Pitt-Consol incurred and will continue to

    incur costs to identify potentially responsible parties (“PRPs”) for Hazardous Substance

    contamination in the Diamond Alkali Superfund Site. The recoverable PRP Search Costs will be

    provided in a supplemental response.



           23.     Identify and Describe all settlements related to claims for environmental liability

    pertaining to any Property at Issue or Operations identified in response to Interrogatories Nos. 1

    or 2 with non-parties (including, but not limited to Defendants voluntarily dismissed from the

    current litigation and governmental entities) regarding any Properties at Issue.

           ORIGINAL ANSWER (JULY 8, 2019)

           Pitt-Consol incorporates its response to Interrogatory No. 2.         Without waiving the

    objections therein, Pitt-Consol responds that the litigation styled New Jersey Department of




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                              EXHIBIT A
Summary of Sediment Datasets for the Lower Passaic River Study Area Remedial Investigation
                                                               Number of Samples/                                                                                                                                   Level of       Known Data Issues or
     Data Collection Event          Date of Collection            Locationsa                     Location (RM)           Depth (feet)        Sample Type           Analyses                                        Validation          Limitations
                                                                                                                                                                   Metals, PCBs, pesticides, TPH, PCDDs/PCDFs,
    Tierra – 1995 Remedial                                97 locations; 211 surface samples
                                           1995                                                      1 to 6.7             0 to 18.2              Core              SVOCs, herbicides, VOCs, cyanide, and           Unknown
Investigation Sampling Program                             and 1,493 subsurface samplesb
                                                                                                                                                                   geochronology
    Honeywell International                                  245 cores; 916 samples; 14                                                 Core, grab, and sediment   Metals, PCBs, pesticides, PAHs, PCDDs/PCDFs,
     Sampling Programs                 1999 to 2006                                                  -3.3 to 1            0 to 27.4                                                                                Unknown           No documentation
                                                               sediment trap samples                                                              trap             SVOCs, herbicides, VOCs, and TOC
                                                                                                                                                                   AVS/SEM, cyanide, PCDD/PCDFs, grain size,
Tierra – Ecological Sampling Plan                                                                                                                                  herbicides, metals, organotin, PAH, PCB
                                       1999 to 2001           78 locations; 78 samples                1 to 7               0 to 0.5              Grab                                                                                   None known
            Programs                                                                                                                                               congeners, PCBs, pesticides, physical
                                                                                                                                                                   properties, SVOCs, TOC, and TPH
                                                                                                                                                                   AVS/SEM, cyanide, PCDD/PCDFs, grain size,
 USEPA/BioGenesis – Sediment                                                                                                                                       herbicides, metals, organotin, PAH, PCB                        Limited study; single bulk
                                           2000                 1 location; 1 sample                                       0 to 5.5              Core                                                              Unknown
     Collection Program                                                                                                                                            congeners, PCBs, pesticides, physical                              sediment sample
                                                                                                                                                                   properties, SVOCs, TOC, and TPH
                                                                                                                                                                   VOCs, SVOCs, pesticides, PCB Aroclors, PCB
  USEPA/TAMS/Earth Tech –
                                                                                              2.6 to 3.1; cores from                                               congeners, herbicides, PCDDs, metals, TOC,
 Sediment Coring for Dredging            July 2004            16 locations; 46 samples                                      0 to 4               Core                                                                                   None known
                                                                                                      RM 2.9                                                       percent moisture, percent solids, Atterberg
        Pilot Project
                                                                                                                                                                   limits, specific gravity, and grain size
   USEPA/MPI – Geotechnical                                                                    0 to 16 (3 cores per                                                Grain size (sieve and hydrometer analysis),
                                         May 2005             51 locations; 51 samples                                    0 to 30.5              Core                                                                                   None known
       Sediment Cores                                                                          transect every mile)                                                Atterberg limits, bulk density, and TOC
                                                                                                                                                                   Beryllium-7 and cesium-137 analyses to
USEPA/MPI – Surface Sediment        August to September                                           1 to 17.4 plus                                                   investigate potential high-resolution coring
                                                                    34 samples                                            0 to 0.08              Grab                                                                 Full              None known
   Grab Sampling Program                    2005                                                  Dundee Lake                                                      locations in order to help date sediment
                                                                                                                                                                   deposition
                                                                                                                                                                   14 stations analyzed for radiological dating
                                                                                                                                                                   (cesium-137); select core segments from a
                                                                                                                                                                   subset of five stations also analyzed for TAL
                                                                                                                                                                   metals, PAHs, PCB congeners, PCDDs, and
 USEPA/MPI – High-Resolution           September to                                           1.1 to 12.6 (for 5 cores
                                                             14 locations; 1,323 samples                                  0 to 22.7              Core              pesticides; approximately 516 samples              Full              None known
  Sediment Coring Program              October 2005                                            with most analyses)
                                                                                                                                                                   analyzed for cesium-137; 228 samples
                                                                                                                                                                   analyzed for metals; 148 samples analyzed for
                                                                                                                                                                   PAHs; and 109 samples analyzed for PCB
                                                                                                                                                                   congeners and PCDDs
PSEG West End Supplemental RI              2005               24 locations, 51 samples                                      0 to 1           Core and grab         Metals, SVOCs, VOCs, pesticides, and PCBs       Unknown           No documentation
      Tierra – Newark Bay
                                                                                                                                                                   Metals, PCBs, pesticides, PAHs, PCDDs/PCDFs,                 Outside of Lower Passaic River
Phase I/Phase II (NBSA Remedial       2005 and 2007              98 cores; 21 grabs                  -9.3 to 0            0 to 29.5          Core and grab                                                            Full
                                                                                                                                                                   SVOCs, herbicides, VOCs, and TOC                                      Study Area
         Investigation)
                                                                                                                                                                   AVS/SEM, cyanide, PCDD/PCDFs, grain size,
                                                                                                                                                                   herbicides, hexavalent chromium, metals, PCB
 Peninsula Resources – HRSA RI
                                           2006              56 locations; 198 samples                                     0 to 12               Core              congeners, PCB Aroclors, pesticides, physical      Full              None known
       Sampling Program
                                                                                                                                                                   properties, SVOCs, TOC, TPH, VOCs, and
                                                                                                                                                                   radiochemistry
                                                                                                                                                                   Cesium-137, herbicides, TPH, TOC,
 USEPA/MPI – Low-Resolution                                                                                                                                        geotechnical parameters, metals, PAHs, PCB
                                       January 2006          10 locations; 130 samples               2.9 to 6.7           0 to 15.4              Core                                                                 Full              None known
  Sediment Coring Program                                                                                                                                          congeners, PCB Aroclors, PCDDs, pesticides,
                                                                                                                                                                   VOCs, and SVOCs
                                                                                                                                                                                                                                                                 Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 7 of 24 PageID: 54743
Summary of Sediment Datasets for the Lower Passaic River Study Area Remedial Investigation
                                                            Number of Samples/                                                                                                                         Level of    Known Data Issues or
    Data Collection Event          Date of Collection          Locationsa                     Location (RM)          Depth (feet)   Sample Type     Analyses                                          Validation       Limitations
                                                                                                                                                    Radiological dating analysis, PCDDs, PCB
   USEPA/MPI – Dundee Lake
                                     January 2007          6 locations; 120 samples            Dundee Lake              0 to 3          Core        congeners, PAHs, pesticides, geotechnical            Full          None known
High-Resolution Coring Program
                                                                                                                                                    parameters, and TAL metals

                                                                                                 1 to 18.4                                          Metals, PCBs, pesticides, PAHs, PCDDs/PCDFs,
      USEPA/MPI – EMBM                2007-2008              63 cores; 88 samples                                       0 to 9          Core                                                             Full          None known
                                                                                                                                                    SVOCs, herbicides, VOCs, and TOC
                                                                                                                                                    Surface grabs analyzed for metals, TOC, grain
                                                                                                                                                    size, and radiological parameters (surface
                                                                                          1 to 12.6 and Dundee                                      grabs with confirmed beryllium-7 also
  USEPA/MPI – Supplemental         December 2007 to       32 surface grabs; 20 cores         Lake (for surface                                      analyzed for PCDDs, PCB congeners, PAHs, and
                                                                                                                        0 to 9      Core and grab                                                        Full          None known
      Coring Program                 January 2008             (40 core samples)           grabs); 8.4 to 14.5 (for                                  pesticides); core samples analyzed for PCDDs,
                                                                                                   cores)                                           PAHs, pesticides, metals, TOC, PCB Aroclors,
                                                                                                                                                    grain size, and radiological dating (12 core
                                                                                                                                                    samples also analyzed for PCB congeners)
                                                                                                                                                    Radiological parameters, TOC, TAL metals,
  USEPA/MPI – RM 0 to RM 1
                                       June 2008           18 stations; 36 samples                 0 to 1              0 to 0.5         Grab        PCDDs, PCB congeners, PAHs, pesticides, and          Full          None known
  Surface Sediment Sampling
                                                                                                                                                    grain size
                                                                                                                                                    PCDDs/PCDFs, radiological dating, herbicides,
                                                                                                                                                    pesticides, SVOCs, VOCs, metals, organotins,
                                   July to December                                                                                                 low-resolution mercury and methylmercury,
Low-Resolution Coring Program                            111 locations; 1,398 samples            0 to 17.4c            0 to 30e     Core and grab                                                        Full          None known
                                          2008                                                                                                      PCB congeners, PCB Aroclors, grain size, TOC,
                                                                                                                                                    cyanide, sulfide, TPH, PAHs, AVS/SEM, physical
                                                                                                                                                    testing, and nitrogen ammonia
 Givaudan Sediment Sampling
(prior to Lister Avenue Phases 1         2012              6 locations; 66 samples               2.8 to 3.5             0 to 7          Core        Cesium-137                                           Full          None known
and 2 Sediment Removal Action)
                                                                                                                                                    Metals, SEM metals, butyltins, PAHs, SVOCs,
                                                                                                                                                    PCB Aroclors, PCB congeners, PCDDs/PCDFs,
   Benthic Program Surface                                                                                                                          organochlorine pesticides, herbicides, VOCs,
                                      October to        111 locations (98 for SQT); 111
 Sediment and SQT Sampling                                                                       0 to 17.4             0 to 0.5         Grab        TPH, TOC, grain size, percent moisture, and          Full          None known
                                    November 2009                  samples
            (2009)                                                                                                                                  general chemistry (i.e., AVS, ammonia, cyanide,
                                                                                                                                                    Kjeldahl nitrogen, phosphorus, and total
                                                                                                                                                    sulfide)
                                                                                                                                                    Metals, SEM metals, butyltins, PAHs, SVOCs,
                                                                                                                                                    PCB Aroclors, PCB congeners, PCDDs/PCDFs,
                                                                                           0 to 17.4 (at locations                                  organochlorine pesticides, herbicides, VOCs,
    Benthic Program Surface
                                      August 2010          21 locations; 21 samples       where small forage fish      0 to 0.5         Grab        TPH, TOC, grain size, percent moisture, and          Full          None known
   Sediment Sampling (2010)
                                                                                              were collected)                                       general chemistry (i.e., AVS, ammonia, cyanide,
                                                                                                                                                    Kjeldahl nitrogen, phosphorus, and total
                                                                                                                                                    sulfide)
JDG –Sediment Sampling (prior                             3 high-resolution cores,
                                    January 2011 to                                                                                                 Metals, PCBs, pesticides, PAHs, PCDDs/PCDFs,
to Lister Avenue Phases 1 and 2                           12 low-resolution cores;               2.8 to 3.5           0 to 18.5         Core                                                             Full          None known
   Sediment Removal Action)          February 2011                                                                                                  SVOCs, herbicides, VOCs, and TOC
                                                         approximately 249 samples

River Mile 10.9 Characterization    August 2011 to                                                                                                  Metals, PCBs, pesticides, PAHs, PCDDs/PCDFs,
                                                            54 cores; 818 samples               10.7 to 11.1          0 to 15.9         Core                                                             Full          None known
                                    November 2011                                                                                                   SVOCs, herbicides, VOCs, and TOC
   Tierra – Focused Sediment
     Investigation (RM 10.9)         January 2012            6 cores; 70 samples                7.8 to 11.5             0 to 7          Core        PCDDs/PCDFs                                          Full          None known
                                                                                                                                                                                                                                          Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 8 of 24 PageID: 54744
Summary of Sediment Datasets for the Lower Passaic River Study Area Remedial Investigation
                                                                           Number of Samples/                                                                                                                                                               Level of    Known Data Issues or
     Data Collection Event                Date of Collection                  Locationsa                           Location (RM)                Depth (feet)                 Sample Type               Analyses                                            Validation       Limitations
                                                                                                                                                                                                       PCDDs/PCDFs, pesticides, SVOCs, metals,
                                                                                                                                                                                                       organotins, low-resolution mercury, PCB
Low-Resolution Coring Program
                                          January to February            85 locations; 569 samples;                                               0 to 2.5;                                            congeners, grain size, TOC, cyanide, sulfide,
   Supplemental Sampling                                                                                                0 to 13                                             Core and grab                                                                     Full          None known
                                                 2012                   755 geochronology samples                                             3 stations to 4.5                                        TPH, PAHs, AVS/SEM, nitrogen ammonia,
          Program
                                                                                                                                                                                                       beryllium-7, cesium-137, lead-210, and
                                                                                                                                                                                                       potassium-40
                                                                                                                                                                                                       Metals, PCBs, pesticides, PAHs, PCDDs/PCDFs,
  River Mile 10.9 Addendum A                   May 2012                     15 cores; 59 samples                     10.8 to 11.2                  0 to 6.1                       Core                                                                        Full          None known
                                                                                                                                                                                                       SVOCs, herbicides, VOCs, and TOC
                                                                                                                                                                                                       Metals, SEM metals, butyltins, PAHs, SVOCs,
                                                                                                                                                                                                       PCB congeners, PCDDs/PCDFs, organochlorine
 Freshwater Reference SQT and                                          24 SQT and 16 chemistry-only             17.6 (above Dundee                                                                     pesticides, TPH, TOC, grain size, percent
                                            November 2012                                                                                          0 to 0.5                       Grab                                                                        Full          None known
  Background Sediment Study                                                  surface samples                         Dam) to 21                                                                        moisture, and general chemistry (i.e., AVS,
                                                                                                                                                                                                       ammonia, cyanide, Kjeldahl nitrogen,
                                                                                                                                                                                                       phosphorus, and total sulfide)
                                                                                                                                                                                                       PCDDs/PCDFs, pesticides, SVOCs, metals,
                                                                                                                                                                                                       organotins, low-resolution mercury and
Low-Resolution Coring Program
                                             September to               76 locations; 664 samples;                                                                                                     methylmercury, PCB congeners, grain size,
   Supplemental Sampling                                                                                              7.2 to 14.6                  0 to 20d            Core (58) and grab (73)                                                                Full          None known
                                             October 2013               26 geochronology samples                                                                                                       TOC, cyanide, sulfide, TPH, PAHs, AVS/SEM,
         Program 2
                                                                                                                                                                                                       and ammonia; cesium-137 and lead-210 at two
                                                                                                                                                                                                       locations
Notes:
Sources consulted to compile the information presented in the table include: Tierra Solutions, Inc. (2003, 2004), Battelle (2005), The Louis Berger Group (2014), and publicly available websites and databases (e.g., ourpassaic.org).
a. Numbers are approximate and may vary depending on how quality assurance samples were counted.
b. Surface samples are those taken within the top 0.5 foot of sediment (includes high vertical-resolution geochronology samples).
c. Samples from above Dundee Dam, Third River, Saddle River, Second River, an unnamed tributary, and former Dundee Canal, including Weasel Brook, were also included in this sample count.
d. Cores were collected to refusal or parent material; maximum core length was 30 feet. Grabs were collected to 0.5 feet.
AVS/SEM: acid volatile sulfide/simultaneously extracted metal                                                                                                      RI: Remedial Investigation
EMBM: Equilibrium Mass Balance Model                                                                                                                               RM: River Mile
HRSA: Hackensack River Study Area                                                                                                                                  SQT: Sediment Quality Triad (chemistry, toxicity, and benthic invertebrate community)
JDG: Joint Defense Group                                                                                                                                           SVOC: semivolatile organic compound
MPI: Malcolm Pirnie, Inc.                                                                                                                                          TAL: target analyte list
NBSA: Newark Bay Study Area                                                                                                                                        Tierra: Tierra Solutions, Inc.
PAH: polycyclic aromatic hydrocarbon                                                                                                                               TOC: total organic carbon
PCB: polychlorinated biphenyl                                                                                                                                      TPH: total petroleum hydrocarbon
PCDD: polychlorinated dibenzo-p-dioxin                                                                                                                             USEPA: U.S. Environmental Protection Agency
PCDF: polychlorinated dibenzofuran                                                                                                                                 VOC: volatile organic compound
PSEG: Public Service Enterprise Group
                                                                                                                                                                                                                                                                                               Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 9 of 24 PageID: 54745
Summary of Surface Water and CSO Datasets for the Lower Passaic River Study Area Remedial Investigation
                                                                                                                                                                                                                                 Level of         Known Data Issues or
    Data Collection Event            Date of Collection         Number of Samplesa               Location (RM)                    Sample Type          Analyses                                                                 Validation            Limitations
Surface Water
                                 June 22, 2000; December 15,   4 samples (2 baseflow,      Passaic River at Little Falls                               Water: SSC, DOC, POC, specific conductance; water and solids:                          Upstream of Lower Passaic River
                                                                                                                                Large volume and
NJDEP/USGS - NJTRWP/CARP          2000; March 14, 2001; and      1 variable flow, and       (adjacent to USGS gage                                     PCB congeners, PCDD/PCDF congeners, pesticides, PAHs,                     Unknown       Study Area; limited temporal
                                                                                                                                 TOPS sampling
                                      October 17, 2001              1 stormflow)               station 01389500)                                       cadmium, lead, mercury, and methyl-mercury                                                       coverage
 MPI – Hydrodynamic Survey                                                                                                                             Grab samples collected to supplement hydrodynamic data from
                                     November 2004 and
  (Mooring) Water Column                                       3 locations; 26 samples          8.6, 10, and 11.5                      Grab            moored instruments; samples analyzed for POC, TDS, TOC, TSS,                Full                None known
                                       February 2005
         Sampling                                                                                                                                      and VSS
                                                                                                                                                       One-day sampling event to evaluate solids transport during a
USEPA/MPI – High-Flow Event                                                                Jackson St. and Ackerman
                                      October 12, 2005         2 locations; 143 samples                                                Grab            major precipitation event; samples analyzed for TDS, TOC, TSS,              Full           Limited temporal scale
        Sampling                                                                                 Ave. Bridges
                                                                                                                                                       and VSS
                                                                                                                                                                                                                                               Comparison study to evaluate
 USEPA/MPI – Large-Volume                                                                                                                                                                                                                     TOPS, Infiltrex, and other large-
                                        October 2005            1 location; 12 samples                   2.5                      Large volume         PCB congeners, PCDDs, pesticides, TSS, DOC, and POC                        Partial
  Water Column Sampling                                                                                                                                                                                                                        volume sampling techniques;
                                                                                                                                                                                                                                                summary narrative available
                                                                                                                                                       SPMD deployments intended to measure dissolved-phase                                     Semi-quantitative, indirect
  MPI – SPMD Deployment           October to November 2005      4 locations; 8 samples          17; 3 tributariesb                  Composite          organics; extracts analyzed for PCB congeners, PAHs, PCDDs, and            Partial       measure of dissolved phase
                                                                                                                                                       pesticides                                                                                hydrophobic chemicals
                                                                                                                                                       Grabs analyzed for ammonia, BOD, herbicides, chlorophyll-a,
  MPI – Small-Volume Water                                                                  1, 2.5, 4.5, 10.5, 17; and                                 COD, cyanide, ortho-phosphorus and total phosphorus, TKN,
                                       November 2005           8 locations; 267 samples                                        Grab and composite                                                                                 Partial              None known
      Column Sampling                                                                             3 tributariesb                                       TSS, SVOCs, and VOCs; composites analyzed for DOC, POC, and
                                                                                                                                                       metals
  U.S. Geological Survey –                                                                                                                                                                                                                     Limited to the Harrison Reach
                                                                                          Harrison Reach between 2.6           Grab, Isco, TOPS, and   TSS, POC, DOC, chloride/bromide, dissolved and total metals,
 Surface Water Sampling for            December 2005                  1 location                                                                                                                                                 Unknown        area with one location in the
                                                                                                    and 3.0                         composite          PCDD/PCDF congeners, and pesticides
Environmental Dredging Pilot                                                                                                                                                                                                                  Lower Passaic River Study Area
                                                                                                                                                                                                                                                                                                                    54746




                                                                                                                                                       PCDD/PCDFs, PCBs (homologs and congeners), mercury (total
                                                                                                                                                       and dissolved), TAL metals (total and dissolved), POC, DOC,
                                                                                                                                                       hardness, SSC, TOC, chlorophyll-a, alkalinity, sulfate, total sulfide,
  Chemical Water Column                                                                     0 to 17.4, Dundee Lake,
                                  August 2011 to June 2013      9 locations, 8 events;                                                                 TDS, chloride, PAHs and alkylated PAHs, organochlorine
 Monitoring Program – Small                                                                Third River, Second River,                  Grab                                                                                       Partial              None known
                                   (8 phases of field work)         756 samples                                                                        pesticides (not including toxaphene), SVOCs, VOCs, methyl
          Volume                                                                               and Saddle River
                                                                                                                                                       mercury (total and dissolved), titanium, butyltins, cyanide,
                                                                                                                                                       hexavalent chromium (dissolved only), TKN, ammonia, and total
                                                                                                                                                       phosphorous; pathogens and bacteria
  Chemical Water Column
                                 December 2012 to June 2013    7 locations, 2 sampling
 Monitoring Program – High                                                                4.2, 10.2, and Dundee Lake                   Grab            PCDD/PCDFs, PCBs, SSC, POC, and DOC                                         Full                None known
                                   (2 phases of field work)       rounds; 6 samples
          Volume
                                                                                                                                Moorings, transect
    Physical Water Column              October 2009 to                                                                                                 SSC, DOC/POC, optical backscatter (OBS), DO, temperature,
                                                                          6                 0 to 13.5, Dundee Lake              surveys, and grab                                                                                 Partial              None known
     Monitoring Program                November 2010                                                                                                   conductivity, and depth
                                                                                                                                    samples
                                                                                          0.7, 2.1, 2.3, 4.2, 5.5, 8.8, 9.0,
   Dissolved Oxygen Study         August to December 2012                13                 9.6 12.8, 14.7, 14.7, 17.7,             Moorings           DO, temperature, pH, conductivity, and turbidity                         Unvalidated            None known
                                                                                                     and 18.3
CSOs
  Tierra Solutions, Inc. – CSO                                                                                                                         Metals, organics, inorganics, pesticides, PCBs, herbicides, and
                                 September to November 1997              11                        1, 3, 4, and 5                      Grab                                                                                     Unvalidated       Limited documentation
      Sampling Program                                                                                                                                 physical tests
                                                                                                                                                                                                                                                                                  Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 10 of 24 PageID:
Summary of Surface Water and CSO Datasets for the Lower Passaic River Study Area Remedial Investigation
                                                                                                                                                                                                                                                               Level of            Known Data Issues or
     Data Collection Event                     Date of Collection                Number of Samplesa                    Location (RM)                     Sample Type             Analyses                                                                     Validation               Limitations
 GLEC/NJDEP – NJTRWP/CARP
                                                  2001 to 2004                               35                      5 SWOs and 9 CSOs                        Grab               PCDDs/PCDFs, metals, PAHs, PCBs, pesticides, and wet chemistry                Unknown                Unknown quality
       CSO Sampling
                                                                                 20 locations; 17 SWO,                8 SWOs, 5 CSOs,
   MPI – 2008 CSO/SWO and                   January 11, February 1,                                                                                 Large-volume aqueous         PCDDs, PCB congeners, PAHs, pesticides, metals, TOC or POC,
                                                                               13 CSO, 8 tributaries, and             3 tributariesb, and                                                                                                                        Partial                None known
Tributary Storm Event Sampling          February 13, and March 8, 2008                                                                                  and sediment             grain size, and radiological parameters
                                                                               10 sediment trap samples               4 sediment traps
Notes:
Sources consulted to compile the information presented in the table include: Tierra Solutions, Inc. (2003, 2004), Battelle (2005), The Louis Berger Group (2012, 2014); and site databases (e.g., ourpassaic.org and http://www.carpweb.org).
a. Numbers are approximate and may vary depending on how quality assurance samples were counted.
b. Reference to “3 tributaries” consists of head-of-tide locations on Second River, Third River, and Saddle River.
BOD: biological oxygen demand                                                   MPI: Malcolm Pirnie, Inc.                                                         POC: particulate organic carbon                                               TKN: total Kjeldahl nitrogen
CARP: Contamination Assessment and Reduction Project                            NJDEP: New Jersey Department of Environmental Protection                          RM: River Mile                                                                TOC: total organic carbon
COD: chemical oxygen demand                                                     NJTRWP: New Jersey Toxics Reduction Work Plan                                     SPMD: semi-permeable membrane device                                          TOPS: trace organics platform sampler
CSO: combined sewer overflow                                                    OBS: Optical backscatter                                                          SSC: suspended solid concentration                                            TSS: total suspended solids
DO: dissolved oxygen                                                            PAH: polycyclic aromatic hydrocarbon                                              SVOC: semivolatile organic compound                                           USEPA: U.S. Environmental Protection Agency
DOC: dissolved organic carbon                                                   PCB: polychlorinated biphenyl                                                     SWO: stormwater outfall                                                       USGS: U.S. Geological Survey
GLEC: Great Lakes Environmental Center                                          PCDD: polychlorinated dibenzo-p-dioxin                                            TAL: target analyte list                                                      VOC: volatile organic compound
Isco: Teledyne Isco Company sampler                                             PCDF: polychlorinated dibenzofuran                                                TDS: total dissolved solids                                                   VSS: volatile suspended solids
                                                                                                                                                                                                                                                                                                                                            54747
                                                                                                                                                                                                                                                                                                          Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 11 of 24 PageID:
Summary of Biota Tissue Collection Events for the Lower Passaic River Study Area
                                Date of        Number of                                                                                                                                          Level of
  Data Collection Event        Collection       Samplesa        Location (RM)     Sample Type          Species Collected        Tissue Type per Species    Analyses                              Validation   Known Data Issues or Limitations
                                                                                                         American eel                Fillet – skin off
                                                                                                              Carp                        Fillet                                                              Limited to four species at limited
 NJDEP – Toxics in Biota                                        Approximately 0   Fish and crab                                                            PCBs, chlordane, DDTs, and 2,3,7,8-
                              1986 to 2004   Varied per event                                                                                                                                    Unknown      locations in the LPRSA (Newark Bay [RM
  Monitoring Program                                                and 16            tissue              Striped bass                    Fillet           tetrachlorodibenzo-p-dioxin
                                                                                                                                                                                                              0] and Monroe Street Bridge [RM 16])
                                                                                                           Blue crab           Hepatopancreas and muscle
                                                                                                           Blue crab           Hepatopancreas and muscle
New York State Department                                                                                    Oyster                    Soft tissue                                                            No validation; limited to blue crab,
                                                                                     Fish and
    of Environmental                                                                                                                                       PCDDs/PCDFs, metals, PCBs,                         oyster, and three fish species (all fillet
                                 1993               1                 0.1          invertebrate            Butterfish                     Fillet                                                   None
  Conservation – PREmis                                                                                                                                    pesticides, and lipids                             samples) at one location near the mouth
                                                                                      tissue
        Database                                                                                              Scup                        Fillet                                                              of the LPR
                                                                                                          Striped bass                    Fillet

   Tierra Solutions, Inc. –                                                                                                        Edible muscle and       PCDDs/PCDFs, metals, PAHs, PCBs,                   Limited to three species collected at
                                                                                  Fish and crab            Blue crab
  Passaic 1995 Biological        1995              13              1.1 to 4.5                                                       hepatopancreas         SVOCs, pesticides, organometals,                   locations in the estuarine zone of the
                                                                                      tissue              Mummichog                   Whole body
    Sampling Program                                                                                                                                       cyanide, and TPH                         Full      LPRSA only
                                                                                                          Striped bass                    Fillet
                                                                                                                                     Fillet – skin off
                                                                                                       Adult striped bass
                                                                                                                                      Whole body
                                                                                                      Atlantic menhaden               Whole body
                                                                                                                                     Fillet – skin off
                                                                                                            Bluefish
                                                                                                                                      Whole body
                                                                                                                                     Edible muscle         PCDDs/PCDFs, herbicides, metals,
                                                                                  Fish, crab, and
                              October 1999         154             1.0 to 6.9                                 Crab                  Hepatopancreas         PAHs, PCBs, pesticides, SVOCs, and       Full      Limited to RM 1 to RM 7 of the LPRSA
                                                                                                                                                                                                                                                                                             54748




                                                                                   mussel tissue
                                                                                                                                                           organometals
                                                                                                                                Whole body – soft tissue
                                                                                                      Juvenile striped bass           Whole body
                                                                                                          Mummichog                   Whole body
                                                                                                           Silverside                 Whole body
  Tierra Solutions, Inc. –
  RI-ESP Biota Sampling                                                                             Transplant ribbed mussel    Whole body – soft tissue
          Program                                                                                         White perch                 Whole body
                                                                                                                                     Fillet – skin off
                                                                                                       Adult striped bass
                                                                                                                                      Whole body
                                                                                                         American eel                 Whole body
                                                                                                                                     Edible muscle         PCDDs/PCDFs, herbicides, metals,
                                                                                  Fish and crab
                               May 2000            41              1.0 to 6.8                                 Crab                                         PAHs, PCBs, pesticides, SVOCs, and       Full      Limited to RM 1 to RM 7 of the LPRSA
                                                                                      tissue                                    Whole body – soft tissue   organometals
                                                                                                         Mummichog                    Whole body
                                                                                                                                     Fillet – skin off
                                                                                                          White perch
                                                                                                                                      Whole body
                                                                                                         American eel                Fillet – skin on      PCDDs/PCDFs, herbicides, metals,
                              August 2001          13              6.0 to 6.9      Fish tissue                                                             PAHs, PCBs, pesticides, SVOCs, and       Full
                                                                                                        Brown bullhead               Fillet – skin off                                                        LPRSA to RM 6.0 to RM 6.9 of the
                                                                                                                                                                                                              Limited
                                                                                                                                                           organometals
                                                                                                                                                                                                                                                           Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 12 of 24 PageID:
Summary of Biota Tissue Collection Events for the Lower Passaic River Study Area
                                Date of       Number of                                                                                                                                     Level of
  Data Collection Event        Collection      Samplesa   Location (RM)    Sample Type          Species Collected         Tissue Type per Species   Analyses                               Validation   Known Data Issues or Limitations
                                                                                                                            Whole body, without
                                                                                                   American eel
                                                                                                                               head/viscera
                                                                                                                               Whole body
                                                                                                   Mummichog
                                                                                                                         Whole body – homogenized
                                                                                                                            Whole body, without
                                                                                                   White perch                 head/viscera
                                                                                                                               Whole body
  CARP – 2000 to 2004                                                        Fish and
                                                                                                                              All edible tissue     PCDDs/PCDFs, metals, PAHs, PCBs, and                Limited to the lower portion of the
 Harbor Fish/Crustacean       2000 to 2004       109           2.6          crustacean                                                                                                       Partial
                                                                                                                                                    pesticides                                          LPRSA
       Collection                                                              tissue                Blue crab                Hepatopancreas
                                                                                                                               Muscle tissue
                                                                                                                               Whole body
                                                                                                 Opossum shrimp
                                                                                                                          Whole body – depurated
                                                                                                  Ribbed mussel                All soft parts
                                                                                                                               Whole body
                                                                                              Seven spine bay shrimp
                                                                                                                          Whole body – depurated
                                                                                                                                                                                                        Crab tissue chemistry data available at
USEPA – EMAP and REMAP                                                                                                                                                                                  two stations in the LPRSA and one
                                                                          Crab and lobster
within the National Coastal                                                                                                                                                                             station in Newark Bay near the mouth of
                              2000 and 2002       2         Regional       tissue and fish   White perch and blue crab             Whole            Metals, DDTs, PCBs, and pesticides        Fullb
       Assessment –                                                                                                                                                                                     the river; limited to two species (white
                                                                                tissue
Northeast/New Jersey Coast                                                                                                                                                                              perch and blue crab) at two locations in
                                                                                                                                                                                                        the LPRSA
                                                                                                                                                                                                                                                                                     54749
                                                                                                                                                                                                                                                   Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 13 of 24 PageID:
Summary of Biota Tissue Collection Events for the Lower Passaic River Study Area
                               Date of       Number of                                                                                                                                          Level of
  Data Collection Event       Collection      Samplesa   Location (RM)    Sample Type            Species Collected        Tissue Type per Species   Analyses                                   Validation   Known Data Issues or Limitations
                                                                                                                              Fillet – skin off
                                                                                                   American eel                Whole body
                                                                                                                                  Carcass
                                                                                                                           Hepatopancreas only
                                                                                                                                Muscle only
                                                                                                     Blue crab
                                                                                                                          Muscle/hepatopancreas
                                                                                                                                  Carcass
                                                                                                  Brown bullhead               Whole body
                                                                                                                              Fillet – skin on
                                                                                                       Carp
                                                                                                                               Whole body
                                                                                                                              Fillet – skin off
                                                                                                  Channel catfish
                                                                                                                                  Carcass           Metals, butyltins, PAHs, alkylated PAHs,
  2009 Fish and Decapod        August to                                  Fish and crab                                                             SVOCs, PCB Aroclors, PCB congeners,         Full and
                                                299        0 to 17.4                                                          Fillet – skin on                                                              None known
     Tissue Collection      September 2009                                    tissue             Largemouth bass                                    PCDDs, PCDFs, organochlorine               summary
                                                                                                                                  Carcass           pesticides, lipids, and percent moisture
                                                                                                                              Fillet – skin on
                                                                                                   Northern pike
                                                                                                                                  Carcass
                                                                                                                              Fillet – skin on
                                                                                                 Smallmouth bass
                                                                                                                                  Carcass
                                                                                                                              Fillet – skin off
                                                                                                   White catfish
                                                                                                                                  Carcass
                                                                                                                                                                                                                                                                                        54750




                                                                                                                              Fillet – skin on
                                                                                                    White perch                Whole body
                                                                                                                                  Carcass
                                                                                                                              Fillet – skin on
                                                                                                   White sucker
                                                                                                                                  Carcass
                                                                                                                                                                                                            Limited tissue mass was available for
                                                                                                                                                    Metals, butyltins, PAHs, SVOCs, PCB                     some freshwater worm tissue samples
                                                                                              Nereis virens (estuarine)
    2009 Laboratory                                                                                                                                 congeners, PCDDs, PCDFs,                                and a reduced analyte priority list was
                            December 2009       19          0 to 15        Worm tissue       and Lumbriculus variegatus   Whole body – depurated                                                  Full
 Bioaccumulation Tissuec                                                                                                                            organochlorine pesticides, lipids, and                  implemented; an additional sample was
                                                                                                    (freshwater)
                                                                                                                                                    percent moisture                                        not analyzed because of insufficient
                                                                                                                                                                                                            tissue mass
 2010 Spring Small Forage
   Fish Reconnaissance        May 2010          10           2 to 5      Small forage fish         Mummichog                        Egg             Lipid                                      Summary      None known
         Sampling
                                                                                                                                                                                                                                                      Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 14 of 24 PageID:
Summary of Biota Tissue Collection Events for the Lower Passaic River Study Area
                                      Date of              Number of                                                                                                                                                                             Level of
  Data Collection Event              Collection             Samplesa           Location (RM)         Sample Type              Species Collected              Tissue Type per Species          Analyses                                          Validation       Known Data Issues or Limitations
                                                                                                                            Mummichog, gizzards
                                                                                                                                                                                              Metals, butyltins, PAHs, alkylated PAHs,
                                                                                                                          shad, pumpkinseed, silver
   2010 Small Forage Fish          June to August                                                                                                                                             SVOCs, PCB Aroclors, PCB congeners,                Full and
                                                                31                0 to 17.4            Fish tissue       shiner, spottail shiner, white             Whole body                                                                                   None known
     Tissue Collection                  2010                                                                                                                                                  PCDDs/PCDFs, organochlorine                       summarye
                                                                                                                           perch, and mixed forage
                                                                                                                                                                                              pesticides, lipids, and percent moisture
                                                                                                                                     fishd
                                                                                                                                                                                              Metals, butyltins, PAHs, alkylated PAHs,
                                                                                                                            Eastern elliptio mussel                                                                                                              Survival was low for estuarine mussels in
                                   March to June                                                                                                                                              SVOCs, PCB Aroclors, PCB congeners,
 2011 Caged Bivalve Study                                        8                0 to 17.4          Mussel tissue             (freshwater) and                      Soft tissue                                                                    Full         the transitional zone due to intolerance
                                       2011                                                                                                                                                   PCDDs, PCDFs, organochlorine
                                                                                                                          ribbed mussel (estuarine)                                                                                                              of low salinity conditions
                                                                                                                                                                                              pesticides, lipids, and percent moisture
                                                                                                                               White perch, brown
                                                                                                                          bullhead, channel catfish,
                                                                                                                                                                                              Metals, butyltins, PAHs, alkylated PAHs,
                                                                                17.4 above                               common carp, white sucker,            Whole body, fillet, and
2012 Background Fish Tissue                                                                                                                                                                   SVOCs, PCB Aroclors, PCB congeners,
                                   October 2012                               Dundee Dam to            Fish tissue        American eel, smallmouth             carcass depending on                                                                 Full         None known
          Survey                                                                                                                                                                              PCDDs/PCDFs, organochlorine
                                                                                   21.5                                  bass, northern pike, banded              species and size
                                                                                                                                                                                              pesticides, lipids, and percent moisture
                                                                                                                          killifish, pumpkinseed, and
                                                                                                                                    silver shiner
Notes:
Sources consulted to compile the information presented in the table include: USEPA EMAP and USEPA REMAP, Region 2, within the National Coastal Assessment – Northeast/New Jersey Coast, available online at http://www.epa.gov/emap/nca/html/about.html); Tierra Solutions, Inc. (2003); CARP
(http://www.carpweb.org/main.html); NJDEP (1990, 1993); Belton et al. (1985); Horwitz (2005, 2006); NJDEP 2004 Routine Monitoring Program for Toxics in Fish: Year 2 – Estuarine and Marine Waters (http://www.state.nj.us/dep/dsr/2004data.htm); and PREmis database (created January 21, 2006; available at
http://ourpassaic.org).
a. Numbers are approximate and may vary depending on how quality assurance samples were counted.
b. Methods used to validate data collected in USEPA’s Environmental Monitoring Assessment Program are available at http://www.epa.gov/emap/nca/html/docs/qaprojplan.html.
c. Laboratory bioaccumulation tests were conducted using sediment collected from the LPRSA during the 2009 Surface Sediment Sampling Program.
d. Four composite samples were composed of multiple species of small forage fish, including Atlantic silverside, gizzard shad, inland silverside, smallmouth bass, striped bass, striped mullet, spottail shiner, tessellated darter, or white perch.
e. Data generated by the PAH (CARB 429 Mod), PCB congener (USEPA 1668B), PCDD/PCDF (USEPA 1613B), and organochlorine pesticide (USEPA 1699 Mod) analyses, which all used high-resolution gas chromatography/high-resolution mass spectrometry instruments, underwent full data validation. For
    other chemical groups, at least 20% of the data received full-level validation and up to 80% received summary-level validation.
                                                                                                                                                                                                                                                                                                                                                  54751




CARP: Contamination Assessment and Reduction Project                                                                                                            PCDD: polychlorinated dibenzo-p-dioxin
DDT: dichlorodiphenyltrichloroethane                                                                                                                            PCDF: polychlorinated dibenzofuran
EMAP: Environmental Monitoring Assessment Program                                                                                                               REMAP: Regional Environmental Monitoring and Assessment Program
ESP: ecological sampling program                                                                                                                                RI: Remedial Investigation
LPR: Lower Passaic River                                                                                                                                        RM: River Mile
LPRSA: Lower Passaic River Study Area                                                                                                                           SVOC: semivolatile organic compound
NJDEP: New Jersey Department of Environmental Protection                                                                                                        TPH: total petroleum hydrocarbon
PAH: polycyclic aromatic hydrocarbon                                                                                                                            USEPA: U.S. Environmental Protection Agency
PCB: polychlorinated biphenyl
                                                                                                                                                                                                                                                                                                                Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 15 of 24 PageID:
Summary of Biological Community and Habitat Quality Investigations in the Lower Passaic River Study Area
                                                                                                                               Number/Description of
                   Data Collection Event                           Dates of Collection             Location (RM)                Sampling Locations           Description
                   Tierra Solutions, Inc. –                                                                                                                  Surveyed LPRSA bird community during four seasonal events. Birds were identified by species, life stage, location,
                                                                       1999 to 2000                     1 to 7                       4 survey areas
              RI-ESP Avian Community Survey                                                                                                                  and counted.
                                                                      August 2010,
                                                                                                                                Transects divided evenly
                                                                      October 2010,                                                                          Qualitative survey of birds observed in habitats using transects that were surveyed a total of three times (i.e., at
             Avian Community Seasonal Surveys                                                          0 to 17.4              between the west/south and
                                                                    January 2011, and                                                                        sunrise, midday, and sunset).
                                                                                                                                    east/north banks
                                                                        May 2011
    Tierra Solutions, Inc. – Phase 1 Toxicity Identification                                                                                                 Investigated sediment toxicity to benthic invertebrates in the LPRSA. Conducted sediment and porewater toxicity
                                                                         July 2000                      1 to 7                             5
                           Evaluation                                                                                                                        tests using amphipod, Ampelisca abdita. Included in sediment quality triad assessment.
Tierra Solutions, Inc. – RI-ESP Benthic Invertebrate Community                                                                15 LPRSA; 3 reference area     Evaluated structure and composition of benthic invertebrate community in LPRSA and compared to Mullica River
                                                                 Fall 1999 and spring 2000              1 to 7
                              Survey                                                                                                  stations               (reference area). Included in sediment quality triad assessment.
                                                                                                Approximately 17 (at
                                                                                                Dundee Dam), plus 6
          NJDEP – Ambient Biomonitoring Network                    1993,1998, and 2006       stations on tributaries (e.g.,                7                 Taxonomic identification of benthic invertebrates was conducted.
                                                                                              Second, Third, and Saddle
                                                                                                        rivers)
                                                                                                                                                             Conducted taxonomic identification and measured biomass of benthic invertebrates from numerous stations along
   USEPA – EMAP within the National Coastal Assessment –                                                                         1 location with 1 grab
                                                                      2000 and 2002          Between RM 5 and RM 11                                          New Jersey coast. Benthic community data were limited to three stations in the LPRSA and one station in Newark Bay
              Northeast/New Jersey Coast                                                                                                collected
                                                                                                                                                             near the mouth of the river.
                                                                                                                                                             Conducted taxonomic identification and measured biomass of benthic invertebrates from numerous stations in
USEPA – REMAP, Region 2, within National Coastal Assessment           1998 and 1999                        2                           1 location            Region 2. Benthic community data were limited to one station in LPRSA and one station in Newark Bay near the mouth
                                                                                                                                                             of the river.
NOAA Northeast Fisheries Science Center – Benthic Macrofauna
                                                                  Between June 1993 and                                                                      Conducted taxonomic identification of benthic invertebrates from numerous stations in Newark Bay. Benthic
and Associated Hydrographic Observations Collected in Newark                                 Mouth of the Passaic River                    2
                                                                       March 1994                                                                            community data were limited to two stations in Newark Bay near the mouth of the river.
                      Bay, New Jersey
                                                                                                                                                                                                                                                                                                                      54752




      Aqua Survey – Taxonomic Identification of Benthic                                                                                                      Benthic invertebrate fauna samples were collected at 28 sampling locations (25% of SPI survey locations) that were
 Invertebrates from Sediment Collected in the Lower 17 Miles         June to July 2005                  0 to 16                            28                evenly distributed throughout the LPR. A subset of 100 organisms was subsampled from each sample, counted, and
of the LPR in Support of the Lower Passaic Restoration Project                                                                                               identified to the lowest practical taxon (family in most cases).
                                                                       October to
                                                                                                                               100 locations in fall 2009;
                                                                    November 2009,                                                                           Benthic invertebrate community data from surface sediment grab samples (0 to 0.5 foot). A component of an SQT
     Benthic Invertebrate Community Seasonal Surveys                                                   0 to 17.4               33 locations in spring and
                                                                  June 2010, and July to                                                                     study (see Table 2-1 for sediment chemistry).
                                                                                                                                     summer 2010
                                                                      August 2010
                                                                  October to November
                   Sediment Toxicity Study                                                             0 to 17.4                      98 locations           A component of an SQT study (see Table 2-1 for sediment chemistry).
                                                                          2009
                                                                                             17.6 (above Dundee Dam)                                         Benthic invertebrate community survey and sediment toxicity components of SQT assessment at freshwater
 Freshwater Reference SQT and Background Sediment Study              November 2012                                                    24 locations
                                                                                                       to 21                                                 reference sites in the Passaic River above Dundee Dam.
              Burger – 1999 Survey of Anglers                                                                                    6 locations (1 near the     Anglers (267) were interviewed to assess consumption patterns and identify the reasons why people fish and crab, as
                                                                           1999                 Newark Bay Complex
                  (Newark Bay Complex)                                                                                               mouth of LPR)           discussed in Burger (2002).
                                                                                                                                                             Conducted boat-based counts and land-based interviews to provide data on the location and frequency of fishing.
                                                                                                                              Boat-based survey, 143 days;
         Tierra Solutions, Inc. – Creel/Angler Survey                 2000 and 2001                     1 to 7                                               The land-based interviews provided more detailed data on a per-angler basis, including number of trips per year,
                                                                                                                              land-based survey, 101 days
                                                                                                                                                             number of fish or crab caught and eaten, and general demographics.
             NJDEP – 1995 Urban Angler Survey                                                                                   26 fishing and crabbing
                                                                           1995                 Newark Bay Complex                                           Angler survey was performed to assess angler awareness and understanding of fish consumption advisories.
                  (Newark Bay Complex)                                                                                            locations (2 in LPR)
                                                                                                                                                                                                                                                                                    Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 16 of 24 PageID:
Summary of Biological Community and Habitat Quality Investigations in the Lower Passaic River Study Area
                                                                                                                                       Number/Description of
                     Data Collection Event                               Dates of Collection                Location (RM)               Sampling Locations              Description
                                                                                                                                                                        Characterized LPRSA fish community during two events: late summer/early fall 1999 and spring 2000. Coordinated
                             Tierra –
                                                                            1999 and 2000                        1 to 6                             15                  effort with fish tissue sampling program; community data were used to select target species for tissue collection.
                 RI-ESP Fish Community Survey
                                                                                                                                                                        Qualitative pathology information was compiled on fish not collected for tissue chemistry analyses.
             NJDEP – Fish IBI Report: 2004 Sampling                      Summer and fall 2004                     15.5                              1                   Fish community survey data were compiled.
         USEPA – Fish Abundance Data for New Jersey                           August 2000                         9.9                               2                   USEPA coastal assessment program collected fish community survey data.
    USEPA – EMAP within the National Coastal Assessment –                                                Lower 6 miles of the            1 location with 3 grabs        Conducted taxonomic identification and measured biomass of benthic invertebrates from numerous stations in
                                                                             1990 and 1993
               Northeast/New Jersey Coast                                                                   Passaic River                       collected               Virginian Province.
                                                                                                       Mouth of Newark Bay up
                                                                                                          to the Dundee Dam,
 USACE – Flood Protection Feasibility: Main Stem Passaic River
                                                                       Spring and summer 1981         including the locations on                    13                  Data were from USACE fish community survey, which targeted only anadromous fish.
                     Volume III, Phase I
                                                                                                        the tributaries (Second,
                                                                                                       Third, and Saddle rivers)
        Princeton Aqua Science – Biocommunities Study                        1981 and 1982                         9                                3                   Data were from fish community survey, which targeted only one fish species (mummichog).
                                                                        August to September
                                                                                                                                        8 reaches (5 in estuarine
                                                                          2009, January to                                                                              Surveys of fish communities to determine relative abundance, structure, and indices of the fish community over
               Fish Community Seasonal Surveys                                                                 0 to 17.4                zone and 3 in freshwater
                                                                       February 2010, and June                                                                          multiple seasons; included gross internal and external pathology evaluations on select fish.
                                                                                                                                                 zone)
                                                                            to July 2010
                                                                                                                                        Continuous shoreline            Characterized shoreline habitats in LPRSA according to four categories: aquatic vegetation, bulkhead, riprap, and
   Tierra – RI-ESP Habitat Characterization Survey of LPRSA           Fall 1999 and spring 2000                  1 to 7
                                                                                                                                      observations of both banks        mixed vegetation. Included delineation of mudflats.
                                                                                                                                                                        Characterized the physical and biological conditions of surface sediments to assess the river’s intertidal and subtidal
 Germano & Associates – SPI Survey of Sediment and Benthic
                                                                               June 2005                        0 to 16                            134                  benthic habitats. Sampling occurred along 27 transects, 4 to 5 sampling locations per transect, from Newark Bay to
            Habitat Characteristics of the LPR
                                                                                                                                                                        Garfield, New Jersey.
                                                                                                                                                                                                                                                                                                                                          54753




                                                                                                                                         Continuous survey of           Characterized and quantified the physical and ecological attributes, or “benchmarks,” of LPRSA wetland and aquatic
    Tierra – Ecological Benchmarking Assessment of LPRSA                          2005                          0 to 17
                                                                                                                                          17 miles of LPRSA             habitats for restoration planning purposes.
                                                                                                        0 to 17, plus areas on                                          Conducted terrestrial vegetation surveys and wetland delineations at three locations and identified bio-benchmarks
   USACE – Vegetation Sampling, Wetland Delineation, and
                                                                                  2008                tributaries and upstream                      27                  in the LPRSA. Three reference areas (identified on the basis of wetland vegetation) were also identified within and
                  Bio-Benchmark Survey
                                                                                                           of Dundee Dam                                                outside of the.
                                                                                                      0 to 17.4, locations along        Continuous shoreline
                  Habitat Identification Survey                            September 2010                                                                               Qualitative survey of shoreline features and vegetation within the LPRSA and LPRSA tributaries.
                                                                                                             3 tributaries            observations of both banks
Notes:
Sources consulted to compile the information presented in the table include: USEPA EMAP and USEPA REMAP, Region 2, within the National Coastal Assessment – Northeast/New Jersey Coast, available online at http://www.epa.gov/emap/nca/html/about.html); USACE (1987), NJDEP (1990, 1993), Belton et
al. (1985), Horwitz (2005, 2006), Tierra Solutions, Inc. (2003, 2004), Battelle (2005), Stehlik et al. (2005), MPI (2007), Germano & Associates (2005), Shisler et al. (2008), Burger (2002), and site databases (e.g., ourpassaic.org).
EMAP: Environmental Monitoring and Assessment Program                                                                                                                    REMAP: Regional Environmental Monitoring and Assessment Program
ESP: ecological sampling program                                                                                                                                         RI/FS: Remedial Investigation/Feasibility Study
IBI: index of biotic integrity                                                                                                                                           RM: River Mile
LPR: Lower Passaic River                                                                                                                                                 SPI: Sediment Profile Imaging
LPRSA: Lower Passaic River Study Area                                                                                                                                    SQT: Sediment Quality Triad (chemistry, toxicity, and benthic invertebrate community)
MPI: Malcolm Pirnie, Inc.                                                                                                                                                Tierra: Tierra Solutions, Inc.
NJDEP: New Jersey Department of Environmental Protection                                                                                                                 USACE: U.S. Army Corps of Engineers
NOAA: National Oceanic and Atmospheric Administration                                                                                                                    USEPA: U.S. Environmental Protection Agency
                                                                                                                                                                                                                                                                                                        Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 17 of 24 PageID:
Summary of Bathymetry, Hydrodynamic, and Geophysical Investigations in the Lower Passaic River Study Area
                            Event                                           Date(s)                         Location (RM)                   Description
                USACE Bathymetry Surveys                                     1932                             10.7 to 11.5                  Digitized from charts on transects spaced approximately 25 feet apart.
                USACE Bathymetry Surveys                                     1948                             10.4 to 11.3                  Digitized from charts on transects spaced approximately 200 feet apart.
                                                                                                         1949: RM 2.5 to RM 5;
                USACE Bathymetry Surveys                                1949 and 1950                                                       Digitized from maps of point data with approximately 30-foot spacing in a grid pattern; post-dredge data.
                                                                                                         1950: RM 5 to RM 6.8
                 USACE Bathymetry Survey                                     1966                          RM 2.3 to RM 7.8                 Digitized from maps of point data on transects spaced approximately 90 feet apart.
                                                                   1975 (pre-dredge) and
                 USACE Bathymetry Survey                                                                    RM 8 to RM 12.5                 Digitized from maps of point data on transects spaced approximately 100 feet apart.
                                                                    1976 (post-dredge)
                 USACE Bathymetry Survey                                     1989                                0 to 15                    Digitized from maps of point data on transects spaced approximately 100 feet apart.
                   Tierra Solutions, Inc. –                        1995, 1996, 1997, 1999,                                                  Single-beam surveys on 100-foot-spacing transects with points taken every 2 feet. Single-beam surveys were used for direct comparison at
                                                                                                             RM 1 to RM 7
             Single-beam Bathymetry Surveys                               and 2001                                                          co-incident transects.
            USACE – Single-beam Bathymetry                                   2004                           RM 0 to RM 17.4                 Single-beam surveys using 100-foot spacing of transects; performed by Rogers Surveying, Inc.
Aqua Survey, Inc. – Pilot Study Survey Area Single-beam                                          Between Jackson Street Bridge and
                                                                             2004                                                           Single-beam survey using 25-foot spacing transects bank-to-bank (mean lower water) to cover the Pilot Study Dredging Area.
                          survey                                                                       New Jersey Turnpike
                                                                                                                                            Five longitudinal lines and 51 transects; side scan sonar, fathometer, magnetometer, gradiometer, and sedimentological properties for 275 short
   Aqua Survey, Inc. – Geophysical Survey for NJDOT                          2005                           RM 0 to RM 17
                                                                                                                                            push cores and for deep cores.
Gahagan & Bryant Associates, Inc. - Multi-beam Survey                        2007                           RM 0 to RM 14.2                 Survey obtained 100% coverage in navigable water with a 5-foot grid.
                                                                                                           RM 0.5 to RM 8.2;                Survey was performed to duplicate the methods and equipment used during previous surveys of the river so that comparisons could be made with
Gahagan & Bryant Associates, Inc. – Single-beam Survey                       2007
                                                                                                          RM 14.3 to RM 16.5                previous single-beam surveys. 100-feet spacing of transects; points were taken every 0.5 foot.
  Gahagan & Bryant Associates, Inc. – Multi-beam and                                                                                        Co-located 2008 survey with 2007 survey in order to correlate 2007 data. Single-beam survey was conducted along 13 transects for a direct
                                                                             2008                           RM 0 to RM 14
                Single-beam Surveys                                                                                                         comparison with pre-2007 data. Multi-beam survey included main channel and side slopes on a 5-foot grid.
Gahagan & Bryant Associates, Inc. – Multi-beam Survey                        2010                         RM 0.5 to RM 14.2                 Survey obtained 100% coverage in navigable water with a 5-foot grid.
                                                                                                                                                                                                                                                                                                                                  54754




      Gahagan & Bryant Associates, Inc. – RM 10.9                                                                                           Multi-beam (RM 10 to RM 12) and single-beam (RM 10.6 to RM 11.3; 86 transects at 50-foot intervals). Performed in July 2011, this survey occurred
                                                                             2011                           RM 10 to RM 12
                  Characterization                                                                                                          prior to storm Irene.
 Gahagan & Bryant Associates, Inc. – Post-Irene Survey                       2011                         RM 0.5 to RM 14.2                 Multi-beam; single-beam on transects from RM 1.6 to RM 8.0, as previously performed in 2008 and 2010.
  Gahagan & Bryant Associates, Inc. – Multi-beam and                                                                                        Single-beam performed in shallow (2 to 6 feet) areas over RM 0 to RM 11; multi-beam from RM 0 to RM 14; intended to characterize bed under
                                                                             2012                         RM 0.5 to RM 14.2
                Single-beam Surveys                                                                                                         extended low river flow conditions.
              Rutgers – Hydrodynamic Survey                                                               Lower 6 miles of the
                                                                    July 2004 to July 2005                                                  Measured river flow, sediment movement, and seasonal changes in salinity and temperature.
                  July 2004 to July 2005                                                                     Passaic River
                                                                                                                                            Hydrodynamic data were collected as part of the LPRSA RI/FS. Work involved three buoys (moorings at RM 8.6, RM 10, and RM 11.5) deployed
                                                                     November 2004 to
               MPI – Hydrodynamic Survey                                                                    Upper 11 miles                  from November 2004 to October 2005. Data collected included surface and bottom salinity (conductivity) and suspended solids (TSS and VSS).
                                                                        May 2005
                                                                                                                                            Vertical velocity profile data collected during deployment are incomplete.
                                                                                                                                            Water-level fluctuations were documented at three tidal gages from April 1995 to June 1996. Velocity profile data were collected at eight cross
                                                                                                                                            sections from July 1995 to May 1996. Moored current meter data (including subset of temperature and salinity) were collected at three locations
              Tierra – Hydrodynamic Studies                              1995 to 1996                           0.5 to 7.9
                                                                                                                                            (from RM 1.4 to RM 6.8) from July 1995 to May 1996. Temperature, salinity (conductivity), and TSS data were collected from eight cross sections
                                                                                                                                            from July 1995 to May 1996.
Notes:
Sources consulted to compile the information presented in the table include: TAMS and Malcolm Pirnie, Inc. (2005), Tierra (2003, 2004), Aqua Survey (2006), AECOM (2010, 2013), The Louis Berger Group (2014), and site databases (e.g., ourpassaic.org).
LPRSA: Lower Passaic River Study Area                                                                                                                         Tierra: Tierra Solutions, Inc.
MPI: Malcolm Pirnie, Inc.                                                                                                                                     TSS: total suspended solids
NJDOT: New Jersey Department of Transportation                                                                                                                USACE: U.S. Army Corps of Engineers
RI/FS: Remedial Investigation/Feasibility Study                                                                                                               VSS: volatile suspended solids
RM: River Mile
                                                                                                                                                                                                                                                                                                Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 18 of 24 PageID:
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                       Exhibit B
                       Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 20 of 24 PageID:
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                                   Vendor                              2007 RI/FS ASAOC Reponse Costs
De Maximis Inc. (DMI)
  RI/FS Proj. Coordination                                                                       7,621,563.70
  Fund Administration                                                                              475,503.46
  RI Field Facility                                                                              1,087,164.90
  Group Administration and Coordination                                                            941,792.00
  LRC Sampling                                                                                     137,676.48
  FSP2 Sampling                                                                                    125,407.33
  FSP2 Benthic Data Mgmt                                                                           294,276.75
  Water Column Monitoring                                                                           31,296.89
  FSP2 Tissue Data Management                                                                      137,177.99
  CSO Invoice Review                                                                                   868.18
  River Mile 10.9                                                                                   75,025.56
  Supplemental Sampling                                                                             31,853.99
  Aquaponics (Fish Exchange) Program                                                                26,162.89
  Tax Preparation                                                                                    8,029.72
AECOM                                                                                           46,864,545.00
WindWard                                                                                        23,717,031.82
Moffat & Nichol                                                                                  7,765,073.15
Anchor QEA                                                                                      14,369,176.45
MAB                                                                                              1,679,943.14
CH2MHill                                                                                        2,311,051.16
Tierra(CSO Study)                                                                                1,600,000.00
Integral                                                                                        3,881,195.68
New York Academy of Science                                                                        184,160.63
U.S. Environmental Protection Agency (Oversight costs)                                          23,931,515.94
O'Brien & Gere                                                                                     518,993.93
MKW                                                                                                 90,959.50
Rutgers University (Fish Exchange)                                                               2,532,214.99

SUBTOTAL                                                                                       140,439,661.23
(Paid By Tierra/Maxus before June 2012 Withdrawal)**                                           -21,400,000.00
TOTAL                                                                                          119,039,661.23
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                       Exhibit C
     Case 2:18-cv-11273-MCA-LDW Document 1866-1 Filed 10/13/21 Page 22 of 24 PageID:
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                       Category/Vendor                          2012 RM 10.9 ASAOC Reponse Costs

DMI                                                             $                    1,152,136.19
AECOM                                                           $                    1,054,450.29
AQEA                                                            $                        4,896.00
CH2M Hill (design)                                              $                    2,123,744.92
CH2M Hill (fieldwork)                                           $                   18,400,731.20
MAB Consulting                                                  $                       29,821.34
Moffatt & Nichol                                                $                       30,954.00
WindWard                                                        $                        8,040.96
U.S. Environmental Protection Agency (Oversight Costs)          $                    1,643,771.19


Credit due from EPA for Oversight Costs exceeding $1.5 MM cap                          -143,771.19
TOTAL (Current as of 9/2019)*                                   $                   24,304,774.90




* Additional costs for monitoring and oversight expected
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                       Exhibit D
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                                  2004- May 2007 Costs*

DMI                                                         1,512,455.65
AECOM                                                       1,458,150.48
WINDWARD                                                      172,074.54
122 (h) Settlement (excluding Tierra/Maxus payment)          12,640,000

TOTAL                                                     15,782,680.67

* Exclusive of PRP Search costs
